Case 3:24-cv-02529-N        Document 14      Filed 01/06/25      Page 1 of 3    PageID 343



                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

PHILADELPHIA INDEMNITY                        §
INSURANCE COMPANY,                            §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §       Civil Action No. 3:24-CV-02529-N
                                              §
OUR FUTURE CHILDREN, INC.,                    §
et al.,                                       §
                                              §
       Defendants.                            §

                     ORDER GRANTING DEFAULT JUDGMENT

       This Order addresses plaintiff Philadelphia Indemnity Insurance Company’s

(“PIIC”) motion for default judgment against defendant Our Future Children, Inc. (“OFC”)

[10]. This Order does not pertain to defendant Jeannette Hall who has filed an answer in

this case. Because PIIC has established that the requirements for a default judgment against

OFC are met, the Court grants the motion and hereby enters an interlocutory default

judgment against OFC.

       Where a defendant fails to plead or otherwise respond to the complaint within the

allotted time, the plaintiff is entitled to apply for a default judgment based on the default.

N.Y. Life Ins. Co. v. Brown, 84 F.3d 137, 141 (5th Cir. 1996). Default judgment is a three-

step procedure requiring (1) the defendant’s default; (2) the entry of default; and (3) the

issuance of a default judgment. Id. Here, the summons was properly served on OFC and

returned on Nov. 4, 2024. OFC did not respond to the complaint or otherwise appear in



ORDER – PAGE 1
Case 3:24-cv-02529-N       Document 14      Filed 01/06/25    Page 2 of 3     PageID 344



this action within the requisite time period. The Clerk then entered a default as to OFC on

Dec. 6, 2024.

      The Court, finding no reason that a default judgment should be avoided here, grants

PIIC’s motion and enters this interlocutory default judgment against only defendant OFC.

As a result of OFC’s default in this case, all well-pleaded allegations of fact in PIIC’s

complaint are deemed admitted as against OFC. See Nishimatsu Constr. Co. v. Hous. Nat’l

Bank, 515 F.2d 1200, 1206 (5th Cir. 1975). Accordingly, it is ordered that:

   1. An interlocutory default judgment is entered in PIIC’s favor against OFC;

   2. PIIC has no duty to defend OFC for the claims asserted against it in the Underlying

      Lawsuit;

   3. PIIC has no duty to indemnify OFC against the damages awarded against it in the

      Underlying Lawsuit;

   4. OFC’s failure to notify PIIC of the Underlying Lawsuit, failure to forward suit

      papers, and failure to comply with the Policy’s suit notice provisions constitutes a

      breach of conditions precedent to coverage; and

   5. OFC’s failure to notify PIIC of the Final Default Judgment entered in the

      Underlying Lawsuit three years and eight months after its entry was prejudicial to

      PIIC as a matter of law, and thereby relieves PIIC from any duty to respond to or

      otherwise satisfy, in whole or in part, the Final Default Judgment entered against

      OFC in the Underlying Lawsuit.




ORDER – PAGE 2
Case 3:24-cv-02529-N    Document 14   Filed 01/06/25   Page 3 of 3    PageID 345



     Signed January 6, 2025.



                                                 ___________________________
                                                        David C. Godbey
                                                 Chief United States District Judge




ORDER – PAGE 3
